                      Case 3:20-cv-01052-VAB Document 14 Filed 08/31/20 Page 1 of 2
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________   of Connecticut
                                                                   of __________


                     EILEEN MURRAY,                            )
                             Plaintiff                         )
                                v.                             )      Case No.     3:20-cv-1052 (VAB)
        BRIDGEWATER ASSOCIATES, L.P., et al.                   )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          PLAINTIFF EILEEN MURRAY                                                                                      .


Date:          08/31/2020                                                        /s/ Lorey Rives Leddy (ct# 19297)
                                                                                         Attorney’s signature


                                                                                  Lorey Rives Leddy (ct# 19297)
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         Case 3:20-cv-01052-VAB Document 14 Filed 08/31/20 Page 2 of 2



                                  CERTIFICATE OF SERVICE

        This is to certify that, on August 31, 2020 a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all persons and counsel of record, as listed below, by operation of the Court’s
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System.

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                                                /s/ Lorey Rives Leddy (ct# 19297)____________
                                                      Lorey Rives Leddy (ct# 19297)




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